     Case 2:20-cr-00326-JFW Document 64 Filed 08/19/20 Page 1 of 3 Page ID #:678



 1   NICOLA T. HANNA
     United States Attorney
 2   BRANDON D. FOX

                                                               DENIED
     Assistant United States Attorney
 3   Chief, Criminal Division
     MACK E. JENKINS (Cal. Bar No. 242101)
 4   Assistant United States Attorney          BY ORDER OF THE COURT
     Chief, Public Corruption & Civil Rights Section               [59]
 5   VERONICA DRAGALIN (Cal. Bar No. 281370)
     MELISSA MILLS (Cal. Bar No. 248529)           AS MOOT – See amended
 6   Assistant United States Attorneys             order filed 8/19/2020
     Public Corruption & Civil Rights Section
 7        1500 United States Courthouse
          312 North Spring Street                              8/19/2020
 8        Los Angeles, California 90012
          Telephone: (213) 894-2091/0647/0627
 9        Facsimile: (213) 894-6436
          E-mail:    Mack.Jenkins@usdoj.gov
10                   Veronica.Dragalin@usdoj.gov
                     Melissa.Mills@usdoj.gov
11
     Attorneys for Plaintiff
12   UNITED STATES OF AMERICA

13                          UNITED STATES DISTRICT COURT

14                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

15   UNITED STATES OF AMERICA,               No. 2:20-CR-326-JFW

16             Plaintiff,                    [PROPOSED] ORDER CONTINUING TRIAL
                                             DATE AND FINDINGS REGARDING
17                   v.                      EXCLUDABLE TIME PERIODS PURSUANT
                                             TO SPEEDY TRIAL ACT
18   JOSE LUIS HUIZAR,
                                             [PROPOSED] TRIAL DATE: 06/01/2021
19             Defendant.

20

21

22        The Court has read and considered the Stipulation Regarding
23   Request for (1) Continuance of Trial Date and (2) Findings of
24   Excludable Time Periods Pursuant to Speedy Trial Act, filed by the
25   parties in this matter on August 14, 2020, as well as the Central
26   District of California’s General Order Nos. 20-02, 20-03, 20-05, 20-
27   08 and 20-09, and Orders of the Chief Judge Nos. 20-042, 20-043 and
28   20-044 In Re: Coronavirus Public Emergency (collectively,
     Case 2:20-cr-00326-JFW Document 64 Filed 08/19/20 Page 2 of 3 Page ID #:679



 1   “Coronavirus Orders”).     The Court hereby finds that the Stipulation

 2   and Coronavirus Orders, which this Court incorporates by reference

 3   into this Order, demonstrate facts that support a continuance of the

 4   trial date in this matter, and provides good cause for a finding of

 5   excludable time pursuant to the Speedy Trial Act, 18 U.S.C. § 3161.

 6        The Court further finds that: (i) the ends of justice served by

 7   the continuance outweigh the best interest of the public and

 8   defendant in a speedy trial; (ii) failure to grant the continuance

 9   would be likely to make a continuation of the proceeding impossible,

10   or result in a miscarriage of justice; (iii) the case is so unusual

11   and so complex, due to the nature of the prosecution, that it is

12   unreasonable to expect preparation for pre-trial proceedings or for

13   the trial itself within the time limits established by the Speedy

14   Trial Act; and (iv) failure to grant the continuance would

15   unreasonably deny defendant continuity of counsel and would deny

16   defense counsel the reasonable time necessary for effective

17   preparation, taking into account the exercise of due diligence.

18        THEREFORE, FOR GOOD CAUSE SHOWN:

19        1.    The trial in this matter is continued from September 29,

20   2020 to June 1, 2021.     The briefing and hearings schedule for any

21   motions shall be:

22              a.   Pre-trial motions, other than suppression motions,

23   due: February 1, 2021

24              b.   Oppositions due: February 22, 2021

25              c.   Replies (optional) due: March 8, 2021

26              d.   Hearing on pre-trial motions, other than suppression

27   motions: March 22, 2021

28              e.   Suppression motions due: February 15, 2021

                                          2
     Case 2:20-cr-00326-JFW Document 64 Filed 08/19/20 Page 3 of 3 Page ID #:680



 1               f.   Oppositions due: March 8, 2021

 2               g.   Replies (optional) due: March 22, 2021

 3               h.   Hearing on suppression motions: April 5, 2021

 4               i.   Motions in limine due: April 26, 2021

 5               j.   Hearing on motions in limine: May 14, 2021

 6        2.     The time period of September 29, 2020 to June 1, 2021,

 7   inclusive, is excluded in computing the time within which the trial

 8   must commence, pursuant to 18 U.S.C. §§ 3161(h)(7)(A), (h)(7)(B)(i),

 9   (h)(7)(B)(ii) and (B)(iv).

10        3.     Defendant shall appear in Courtroom 7A of the Federal

11   Courthouse, 350 W. 1st Street, Los Angeles, California on June 1,

12   2021 at 8:30 a.m.

13        4.     Nothing in this Order shall preclude a finding that other

14   provisions of the Speedy Trial Act dictate that additional time

15   periods are excluded from the period within which trial must

16   commence.   Moreover, the same provisions and/or other provisions of

17   the Speedy Trial Act may in the future authorize the exclusion of

18   additional time periods from the period within which trial must

19   commence.

20        IT IS SO ORDERED.

21

22
      DATE                                    HONORABLE JOHN F. WALTER
23                                            UNITED STATES DISTRICT JUDGE
24

25
     Presented by:
26
         /s/
27   MACK E. JENKINS
     Assistant United States Attorney
28

                                          3
